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           In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                             No. 14-1177V
                                         Filed: June 13, 2016
                                            UNPUBLISHED
*********************************
CHARLES TURNER,                                      *
                                                     *
                           Petitioner,               *
v.                                                   *
                                                     *       Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                                  *       Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                                  *
                                                     *
                           Respondent.               *
                                                     *
****************************
Scott William Rooney, Nemes, Rooney, P.C., Farmington Hills, MI, for petitioner.
Gordon Elliot Shemin, U.S. Department of Justice, Washington, DC, for respondent.


                         DECISION ON ATTORNEYS’ FEES AND COSTS1

Dorsey, Chief Special Master:

        On December 8, 2014, Charles Turner (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act”). Petitioner alleged that he suffered from severe
arthritis and other injuries that were caused by the hepatitis B vaccines he received on
January 9, 2012, and April 23, 2013. On June 2, 2016, the undersigned issued an
Order Concluding Proceedings. (ECF No. 36).

       On June 13, 2016, petitioner filed an unopposed motion for attorneys’ fees and
costs. (ECF No. 37).3 Petitioner requests attorneys’ fees in the amount of $6,690.00
1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
3
    In the motion, petitioner states that respondent has no objection to petitioner’s request.
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and attorneys’ costs in the amount of $1,922.32 for a total amount of $8,612.32. Id. at
2. In accordance with General Order #9, petitioner’s counsel represents that petitioner
incurred no out-of-pocket expenses.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request and the lack of opposition
from respondent, the undersigned GRANTS petitioner’s motion for attorneys’ fees and
costs.

       Accordingly, the undersigned awards the total of $8,612.32,4 as a lump sum
in the form of a check jointly payable to petitioner and petitioner’s counsel Nemes
Rooney, P.C.

        The clerk of the court shall enter judgment in accordance herewith.5

IT IS SO ORDERED.

                                                          s/Nora Beth Dorsey
                                                          Nora Beth Dorsey
                                                          Chief Special Master




4
 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).
5
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
